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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                Criminal Action No.
         v.

   P ENDERGRASS ET AL                           1:17-cr-00224-AT-CMS



              NOTICE OF FILING WITHDRAWAL OF COUNSEL

   Assistant United States Attorney Teresa Stolze herein files this Notice of

Filing Withdrawal of Counsel in the above-styled case, and respectfully requests

that she be removed as counsel of record for the United States.



                                         Respectfully submitted,


                                         K URT R. E RSKINE
                                             Acting United States Attorney



                                     /s/T ERESA S TOLZE
                                             Assistant United States Attorney
                                         Teresa.Stolze@usdoj.gov




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                                         1
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                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using

the Court’s CM / ECF system, which automatically notifies the parties and counsel
of record.


                          Counsel for Defendant


June 29, 2021


                                     /s/ T ERESA S TOLZE

                                     T ERESA S TOLZE

                                     Assistant United States Attorney
